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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

Lee Ann DelCourt, of Franklin County,
State of Maine,

Raymond Boshold and Jo Boshold,
of Cumberland County, State
Maine,

Lindsey Crosby, of Cumberland
County, State of Maine,

David Jones, of Waldo County, CIVIL ACTION NO.

State of Maine,

Arthur Langley, of Washington
County, State of Maine,

James Fahey, of Cumberland
County, State of Maine,

Mike Mercer, of Cumberland
County, State of Maine,

Dr. John Herzog, of Cumberland
County, State of Maine,

Karl Ward, of Hancock County,

State of Maine
Plaintiffs
V.
Janet T. Mills, Governor
State of Maine
Defendant

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COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiffs, for their Complaint for Declaratory and Injunctive Relief against

Defendant, allege as follows:

INTRODUCTION
1. Govemor Mills has issued executive orders that have closed down Maine civil
society, effectively placed 1.2 million people under house arrest, and taken jobs away from
hundreds of thousands of people, all without due process of law. She has also directly and
palpably interfered with interstate commerce by ordering that all people entering
Maine from another State must be quarantined for 14 days, regardless of whether they

have any illness.

2. The Governor’s initial Executive Order was premised on the perceived need
to “flatten the curve” to avoid overwhelming the State’s hospitals and healthcare centers,
not to eradicate the virus. Although the curve has been flattened,
https://www.pressherald.com/2020/04/18/hospitalizations-in-much-of-maine-have-
flattened-or-decreased-over-past-week/, the Governor has nonetheless continued in
place executive orders that unreasonably and unnecessarily interfere with Plaintiffs’

constitutional rights.

3. Governor Mills’ executive orders are unprecedented. For the first time in
Maine’s history, the State is mass quarantining people who have no indication that they
are or may become sick. Such actions unlawfully interfere with rights guaranteed by
the Maine constitution, which guarantees citizens’ “inherent and unalienable rights,
among which are those of enjoying and defending life and liberty, acquiring,
possessing and protecting property, and of pursuing and obtaining safety and
happiness.” Me. Const. art. I, § 1

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4, Plaintiffs are affected by the Governor’s orders. Under threat of criminal
penalties, they have been forced to close or significantly restrict their businesses, depriving

them oftheir liberty and property interests without due process.

5. Through her overbroad and unnecessary Executive Orders, the Governor
has unilaterally suspended the civil liberties of Maine citizens and residents, as well as

those travelling to Maine from other States.

6. Federal and State constitutions confine governmental action and thereby
preserve individual liberty, Constitutional protections are not suspended in the face of a

pandemic or other public emergency.

7. Plaintiffs seek a judicial declaration that the executive orders keeping
people in their homes and away from their businesses, the fourteen-day quarantine
requirement, and all related orders, rules, and enforcementactivity, are unconstitutional under
the Dormant Commerce Clause, the Privileges and Immunities Clauses of Article IV and
the Fourteenth Amendment, the Due Process and Equal Protection Clauses of the Fourteenth

Amendment, the Maine Constitution and Maine statutes.
PARTIES

8. Plaintiff Lee Ann DelCourt is the owner of Spillover Lodging, Inc. which
operates the Spillover Motel and Inn (Stratton and Kingfield), and the Spillover Kitchen.
Plaintiff employs over 11 people and has lost almost $100,000 in revenue since the

beginning of Defendant’s arbitrary and capricious restrictions.

9. Plaintiffs Raymond Boshold and Jo Boshold are individuals in Portland,
Maine, who own and operate Maine Woolens, LLC, a textile weaving mill which

normally employs 15 people. As a result of the Defendant’s arbitrary and capricious

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restrictions, the Plaintiffs have had to furlough all non-essential employees and cannot

meet its contracts.

10. _—~ Plaintiff Lindsey Crosby is the owner of Harper Method Hair, LLC in South
Portland. Plaintiff owns a hair salon which hosts six hairdressers and is being forced to

operate at half capacity under the Defendant’s arbitrary and capricious restrictions.

11. Plaintiff David Jones is the owner of the Ducktrap Lodge and Retreat, a
vacation lodge located in Lincolnville. Since the Defendant’s arbitrary and capricious
restrictions, Plaintiff has had to refund and turn away business for the upcoming tourist
season in excess of $50,000. Plaintiff also runs FO Bailey Antiquarians, a real estate and
antique business which has been in continuous operation since 1819. FO Bailey

Antiquarians is complete shutdown.

12. Plaintiff Arthur Langley is an individual residing in Harrington, Maine.
Plaintiff runs a Heritage tourism business which conducts history tours throughout Maine
and has operations in 37 towns and three counties. As a result of Defendant’s arbitrary
and capricious restrictions have completely shut down Plaintiff's business. Plaintiff

anticipated employing over 40 employees year round.

13. Plaintiff James Fahey is a wedding disc jockey whose business has been

destroyed by the Defendant’s arbitrary and capricious restrictions.

14.‘ Plaintiff Mike Mercer is a security consultant whose business has been

severely affected by the Defendant’s arbitrary and capricious restrictions.

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15. Plaintiff Karl Ward is the President and CEO of Nickerson and O’Dea, Inc.,
Construction of Brewer, which is a 50 person construction company adversely affected

by the Defendant’s arbitrary and capricious restrictions.

16. Plaintiff Dr. John Herzog is an orthopedic surgeon based in Falmouth.
Plaintiff's business has been adversely affected and has lost approximately eighty percent

(80%) of his business by the Defendant’s arbitrary and capricious restrictions.

17. Defendant Janet T. Mills is the Governor of the State of Maine. Plaintiffs

sue her in her official capacity only.

JURISDICTION
18. This action challenges Governor Mills’ Executive Orders 14FY 19/20 19FY

1920;28 FY 19/20, 34 FY 19/20, and 49 FY 19/20 (and future iterations of these orders)
{all collectively, the “Executive Orders”), which Plaintiffs believe violate multiple
provisions of the Constitution of the United States. The Court therefore has federal-

question jurisdiction under 28 U.S.C. § 1331.

19. Plaintiffs seek declaratory relief and a permanent injunction against the
Executive Orders.
20. Plaintiffs also challenge the Executive Orders as a violation of the

separation-of-powers established in Article III of the Maine Constitution and a violation
of Title 37-B of Maine’s Revised Statutes. Plaintiffs further challenge the

constitutionality of Title 37-B, Chapter 13 of Maine’s Revised Statutes.

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21, Accordingly, Plaintiffs also invoke the Court’s supplemental jurisdiction

under 28 U.S.C. § 1367.

VENUE
22. Governor Mills is a resident of, and the principal office ofthe Governor is
located in, Augusta, Maine.
23. A substantial part of the events giving rise to the claims in this Complaint

occurred in Augusta Maine.

24. The city of Augusta is the seat of government for the State of Maine. It is
located within Kennebec County, which is within the territorial jurisdiction of this Court.

This Court is therefore a proper venue for this action under 28 U.S.C. § 1391(b)(1)-(2).

EXECUTIVEACTIONS

25. On March 15, 2020, Governor Mills proclaimed a State of Emergency to

authorize the use of emergency powers in response to Covid-19

26. On March 18, 2020, Governor Mills issued Executive Order 14 FY 19/20,
which banned gatherings of more than 10 people and required restaurants and bars to

close except for carry out and delivery service.

27. On March 24, 2020, Governor Mills issued Executive Order 19 FY 19/20,
which divided Maine businesses into “essential” and “non-essential” businesses, It further
ordered non-essential businesses to “cease activities at sites that are public facing and
thereby allow customer, vendor or other in-person contact; or are at sites that require more
than 10 workers to convene in space where social distancing is not possible.” The Order

further stated that “non-urgent medical and dental procedures, elective surgeries, and

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appointments should be postponed based on consultations between individuals and

providers.”

28. On March 31, 2020, Governor Mills issued Executive Order 28 FY 19/20.
That order required all persons in Maine to stay at home except when performing “essential
activities.” It further required people to stay 6 feet apart when outside the home,
restricted the use of public transportation except as “absolutely necessary,” restricted private
vehicles to members of the same household, set social distancing rules for essential
businesses, and continued school closures that had already been implemented. The Order
states that “violations are a class E crime subject to up to six months in jail

and a $ 1000 fine.”

29, On April 3, 2020, the Governor issued Executive Order 34 FY 19/20, That
order requires that “any person, resident or non-resident, traveling into Maine must
immediately self-quarantine for 14 days.” The Order also closed hotels and other lodging
facilities except for:

a. Housing vulnerable populations, including children in emergency

placements, persons at risk of domestic violence, and homeless
individuals as permitted by the State.

b. Providing accommodations for health care workers, or other workers
deemed necessary to support public health, public safety or critical
infrastructure.

c. Use of lodging properties as self-quarantine or self-isolation facilities as
arranged by the State.

d. Limited verifiable extenuating circumstances for the care and safety of
residents as otherwise approved by the State.

The Order further provides that “A violation of this Order may be charged as a Class E

crime subject to a penalty of up to six months in jail and a $1,000 fine.

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30.

On April 29, 2020, the Governor issued Executive Order 49 FY 19/20. This

order extended the effective dates of all of the above executive orders through May 31,

2020. The Order also purported to incorporate a “Restarting Plan” that would ease

restrictions on businesses at the discretion of the Department of Economic and

Community Development. The “Restarting Plan” is a 14-page booklet that sets forth

stages when businesses may reopen, provided they comply with detailed checklists.

31.

Under Stage One of the Restarting Plan, which governs through May 31,

the following businesses may reopen provided they comply with detailed checklists:

Drive-in theaters

Health care

Golf Courses and Dise Golf Courses, with restrictions
Guided outdoor activities (Hunting, Fishing)

Guided boating (10 or fewer customers)

Marinas

Barber Shops and Hair Salons

Dog Grooming

Limited drive-in, stay-in-your-vehicle church services
Auto Dealership Sales

Car Washes

The 14-day quarantine requirement and ban on gatherings of more than 10 people will

remain in effect.

32.

Under Stage Two, which covers the month of June, the following may

reopen if they follow detailed checklists:

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e Auto Dealership Sales
° Restaurants
° Lodging

° Campgrounds/RV parks

° Day camps

° Fitness and Exercise Gyms
® Nail Technicians

° All retail businesses

The 14-day quarantine requirement will remain in effect, and there is a ban on gatherings

of more than 50 people.

33. Under Stage Three, which will cover July and August, the following may

reopen:
° Bars
° Lodging
e Charter boats, excursions — fewer than 50 people

® State Park Campgrounds

° Summer Camps

° Spas

° Tattoo and Piercing Parlors

° Massage Facilities

e Cosmetologists and Estheticians
° Electrolysis Services

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° Laser Hair Removal Services, and Similar Personal Care and Treatment
Facilities and Services

The ban on gatherings of more than 50 people and the 14-day quarantine requirement

remain in effect.

34. Stage 4 purports to permit all businesses to open “with appropriate safety
modifications.” The plan does not specify when Stage 4 will be implemented or whether

the quarantine requirement and restrictions on gatherings will remain in effect.

GENERAL ALLEGATIONS
35. Although the coronavirus is highly contagious, it does not invariably result
in COVID-19. For those who do develop COVID-19, the mortality rate is low. As of
May 4, 2020, the State reported on its official coronavirus webpage 1226 suspected or
confirmed cases of COVID-19, which is roughly 0.09% of the State population. Even for
the known fractional percent of those who have developed COVID-19, the State reporis a
95% survival rate. As a result, only 0.005% of the State’s population has succumbed to the

virus.

36. In all likelihood, the survival rate in Maine ts far higher. Recent antibody
testing conducted in New York State and a study in Los Angeles suggest that millions more
have been infected with the coronavirus than previously known, and that the supermajority
of those previously infected were either asymptomatic or experienced mild reactions to it. In
New York, this new information has dropped the mortality rate to0.5%—z.e., a survivalrate of
99.5%. In Los Angeles, it dropped the mortality rate to 0.1-0.3%—i.e., a survival rate of 99.7—
99.9%. There is no reason to believe that Maine is exempt from this good news. As more

Maine residents are tested, increases in positive tests will yield a higher survival rate.

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37. The number of deaths caused by COVID-19, while unquestionably tragic,
is not“unprecedented,” as routinely claimed. What is unprecedented is Governor Mills’

response to it.

38, In the late 1960s, the Hong Kong Flu swept across the globe killing more
than 1 million people. The CDC estimated that 100,000 people died in the U.S. Maine,
like other States, was affected. Governor Kenneth Curtis did not place residents under

house arrest or shutdown the economy.

39. Governor Mills repeatedly states that decisions must be made on data. Yet,
despite the positive State-specific data, the Governor has tightened restrictions through further

executive orders.

40. An economic depression is predictable following the shutdown of civil society
caused by the Executive Orders. Businesses around Maine are permanently closing because
they cannot pay employees and vendors. More will be forced to permanently close the longer

that the Executive Orders and any similarly drafted successor orders are in place.

41, Plaintiffs want to reopen their businesses, but Governor Mills forbids them
from doing so under pain of criminal punishment and civil fines. Plaintiffs should not be
forced to choose between risking criminal prosecution and economic sanctions on the one

hand, or exercising their constitutional rights on the other.

COUNT I~ DORMANT COMMERCE CLAUSE

42, Plaintiffs incorporate by reference the allegations in paragraphs 1-41

above as if fully set forth in this paragraph.

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43, The Commerce Clause of the U.S. Constitution grants Congress the power
“{tlo regulate commerce with foreign Nations, among the several States, and with the

Indian Tribes.” U.S. Const. art. I, § 8, cl. 3.

44, In addition to providing an affirmative grant of power to Congress, the
Commerce Clause has long been understood to restrict States in regulating interstate
commerce. This aspect of the Commerce Clause is sometimes referred to as the “Dormant
Commerce Clause.” The Dormant Commerce Clause precludes States from enacting
legislation that discriminates against or impermissibly burdens interstate commerce. State
laws that facially discriminate against interstate commerce are invalid per se under the
Commerce Clause. This is true also of State laws that are facially neutral, if they
impermissibly burden interstate commerce in practice. West Lynn Creamery v. Healy, 512

U.S. 186, 194-195 (1994),

45, Although the Dormant Commerce Clause is usually invoked to challenge
protectionist laws that favor in-state businesses over out-of-state businesses, the Clause
has a broader function: to guarantee for all citizens the right to access and participate in
interstate commerce. Just as no State can prevent out-of-staters from engaging in
commerce with its residents, no State may prevent its residents from participating in

commerce with those located in another State.

46. The Executive Orders impermissibly restrict Plaintiffs and their
customers from exercising the right to engage in interstate commerce. The quarantine
requirement, in particular, both discriminates against interstate commerce and unreasonably

burdens interstate commerce.

47. Governor Mills acted under color of State law in an official capacity and

within the scope of her official duties when issuing the Executive Orders.

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48. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

49. Plaintiffs seek a declaration that the Executive Orders violate the Dormant
Commerce Clause, and a permanent injunction against further infringements of their rights

under this Clause as described in the Prayer for Relief.

COUNT II —- PRIVILEGES AND IMMUNITIES CLAUSE
OF ARTICLE IV, § 2

50. Plaintiffs incorporate by reference paragraphs 1 through 49 above as if

fully set forth in this paragraph.

51. The Privileges and Immunities Clause of Article IV of the US.
Constitution provides that “[t]he citizens of each State shall be entitled to all privileges

andimmunities of citizens in the several States.” U.S. Const. art. IV, § 2, cl. 1.

52. The Privileges and Immunities Clause protects a citizen’s right to pursue a
livelihood in a State other than the State in which he is a resident. Baldwin v. Fish & Game

Comm'n of Montana, 436 U.S. 371 (1978).

53. The Executive Orders impermissibly restrict Plaintiffs from exercising these

rights.

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54. Governor Mills acted under color of State law in an official capacity and

within the scope of her official duties when issuing the Executive Orders.

55. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

56. Plaintiffs seek a declaration that the Executive Orders violate the Privileges
and Immunities Clause, and an injunction against further infringements of their rights
under this Clause as described in the Prayer for Relief.

COUNT III - PRIVILEGES ORIMMUNITIES CLAUSE
OF THE FOURTEENTH AMENDMENT

57, Plaintiffs incorporate by reference paragraphs | through 56 above as if

fully set forth in this paragraph.

58. The Privileges or Immunities Clause of the Fourteenth Amendment to the
U.S. Constitution provides that “[n]o State [can] make or enforce any law [that] abridge[s]
the privileges or immunities of citizens of the United States.” U.S. Const. am. XIV, §

1, cl. 2.

59. The right to travel between States is a privilege of federal citizenship.
60. The right to engage in interstate commerce is also a privilege of federal
Citizenship.

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61. The Executive Orders impermissibly restrict Plaintiffs and their customers
from exercising these rights. The quarantine requirement, in particular unreasonably

restricts the right to travel to Maine.

62. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action

at law, suit in equity, or other proper proceeding for redress.

63. Governor Mills acted under color of State law in an official capacity and

within the scope of their official duties when issuing the Executive Orders.

64, Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

65. Plaintiffs seek a declaration that the Executive Orders violate the Privileges
or Immunities Clause, and an injunction against further infringements of their rights under

this Clause as described in the Prayer for Relief.

COUNT [V PROCEDURAL DUE PROCESS

66. Plaintiffs incorporate by reference paragraphs 1 through 65 above as if

fully set forth in this paragraph.

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67. The Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deprive any person of life, liberty, or property,

without due process of law.” U.S. Const. amend. XIV, § 1, cl. 3.

68. The procedural component of the Due Process Clause prohibits government
from depriving Plaintiffs of liberty and property interests without providing any process

before or after the deprivations occurred.

69. To establish a procedural due process claim under 42 U.S.C. § 1983, a
plaintiff must show that (1) it had a life, liberty, or property interest protected by the Due
Process Clause; (2) it was deprived of this protected interest; and (3) the state did not afford

it adequate procedural rights.

70. Plaintiffs have a protected liberty interest in the right to live without

arbitrary governmental interference and to operate their businesses.

71. Plaintiffs have protected liberty and property interests that Defendant has

infringed through the Executive Orders:

72. Governor Mills has not provided any procedural due process before issuing
the Executive Orders. Nor do the Executive Orders provide any mechanism for post-

deprivation review.

73. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress, Governor Mills has, under

color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and

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immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

74. Governor Mills acted under color of State law in an official capacity and

within the scope of their official duties when issuing the Executive Orders.

75. As a direct and proximate cause of the failure to provide any pre- or post-
deprivation process, Plaintiffs suffered prejudice under threat of criminal and civil

sanctions.

76, Because Governor Mills failed to provide any pre- or post-deprivation review
of the orders and rules shuttering their businesses, Plaintiffs are suffering substantial losses

of liberty and property:

77, The prejudice each Plaintiff has suffered would not have occurred but for

Defendants’ deprivations of their liberty and property interests.

78. Plaintiffs seek a declaration that the Executive Orders violate the procedural
component of the Due Process Clause, and an injunction against further infringements of

their rights under this Clause as described in the Prayer for Relief.

COUNT V SUBSTANTIVEDUEPROCESSS

79. Plaintiffs incorporate by reference paragraphs 1 through 78 above as if

fully set forth in this paragraph.

80. The Due Process Clause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deprive any person of life, liberty, or property,

without due process of law.” U.S. Const. amend. XIV, § 1, cl. 3.

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81. The substantive component of the Due Process Clause prohibits
government from taking action that “shocks the conscience” or “interferes with rights
implicit in the concept of ordered liberty.” United States v. Salerno, 481 U.S. 739, 746
(1987).

82. Plaintiffs have a protected liberty interest in the right to live without

arbitrary governmental interference with their liberty and property interests.

83. The Executive Orders shock the conscience and interfere with Plaintiffs’
deeply-rooted liberty and property rights, including the to work, right to contract, and right

to engage in commerce.

84, Each Plaintiff could and can conduct business in full compliance with all of
the rules imposed on businesses allowed to operate under the Executive Orders, or
reasonably equivalent and equally safe measures tailored to the unique nature of the in-
person operations. Thus, the Executive Orders are not narrowly tailored to achieve a

compelling governmental interest.

85. Nor is there any rational basis to deprive Plaintiffs of their liberty and
property interests in performing services for willing customers when they can do so safely
and in the same (or reasonably safe equivalent) manner as other businesses allowed to

operate.

86. In the alternative, the Executive Orders are not reasonably related to a

legitimate governmental interest.

87. Governor Mills acted under color of State law in an official capacity and

within the scope of their official duties when issuing the Executive Orders.

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88. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

89. Plaintiffs seek a declaration that the Executive Orders violate the substantive
component of the Due Process Clause, and an injunction against further infringements of

their rights under this Clause as described in the Prayer for Relief.

COUNT VI EQUAL PROTECTION

90. Plaintiffs incorporate by reference paragraphs | through 89 above as if fully

set forth in this paragraph.

91. The Equal Protection Ciause of the Fourteenth Amendment to the U.S.
Constitution provides that no State can “deny to any person within its jurisdiction the

equal protection of the laws.” U.S. Const. amend. XIV, § 1, cl. 4.

92. The Executive Orders deprive Plaintiffs of the equal protection of the law
because they allow some businesses to operate but not Plaintiffs’ businesses, even though

they are similarly situated.

93. Each Plaintiff could and can conduct business in full compliance with all of
the rules imposed on businesses allowed to operate under the Executive Orders, or

reasonably equivalent and equally safe measures tailored to the unique nature of the in-

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person operations. Thus, the Executive Orders are not narrowly tailored to achieve a

compelling govern- mental interest.

94, Nor is there any rational basis to deprive Plaintiffs of their liberty and
property interests in performing services for willing customers when they can do so safely
and in the same (or reasonably safe equivalent) manner as other businesses allowed to

operate.

95. In the alternative, the Executive Orders are not reasonably related to a

legitimate governmental interest.

96. Governor Mills acted under color of State law in an official capacity and

within the scope of their official duties when issuing the Executive Orders.

97, Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action.

98. Plaintiffs seek a declaration that the Executive Orders violate the Equal
Protection Clause, and an injunction against further infringements of their rights under this

Clause as described in the Prayer for Relief.

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COUNT VIE DECLARATORY JUDGMENT SEPARATION OF POWERS
99. Plaintiffs incorporate by reference paragraphs 1 through 98 above as if fully

set forth in this paragraph.

100. There is an actual and present controversy between the parties.

101. Plaintiffs contend that the Executive Orders violate the Separation of Powers
Clauses in Article II], Sections 1 and 2 of the Maine Constitution and that the Executive
Orders prohibit them from engaging activities in which they would otherwise be free to

engage under threat of criminal sanction.

102. The Separation of Powers Clauses in Article II] of the Maine Constitution

provide:

Section 1. The powers of this government shall be divided into 3 distinct
departments, the legislative, executive and judicial.

Section 2. No person or persons, belonging to one of these departments, shall
exercise any of the powers properly belonging to either of the others, except in the
cases herein expressly directed or permitted.

103. Maine Revised Statute 37-B, § 742 violates the Separation of Powers Clause
because it vests governors with total legislative power whenever a governor asserts the

existence of an emergency.
104. On information and belief, Governor Mills denies these contentions.

105. —— Plaintiffs seek a judicial declaration that the Executive Orders violate the
Separation of Powers Clause, and a permanent injunction against enforcement or adoption

of these and similar orders and rules in the future as described in the Prayer for Relief.

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COUNT VIII DECLARATORY JUDGMENT VIOLATION OF MAINE
REVISED STATUTE 37-B

106. ‘Plaintiffs incorporate by reference paragraphs | through 105 above as if

fully set forth in this paragraph.
107. There is an actual and present controversy between the parties.

108. Maine Revised Statute 37-B, § 742 provides when the Governor should

declare a state of emergency and the Governor’s powers after declaring an emergency.

109. According to Maine Revised Statute 37-B, § 742, the Governor shall declare
a state of emergency in the State or any section of the State whenever a disaster or civil

emergency exists or appears imminent.

110. According to Maine Revised Statute 37-B, § 703, a disaster “means the
occurrence or imminent threat of widespread or severe damage, injury or loss of life or
property resulting from any natural or man-made cause, including, but not limited to, fire,
flood, earthquake, wind, storm, wave action, oil spill or other water contamination requiring
emergency action to avert danger or damage, epidemic, extreme public health emergency
pursuant to Title 22, section 802, subsection 2-A, air contamination, blight, drought, critical

material shortage, infestation, explosion, riot or hostile military or paramilitary action.”

111. Epidemics are listed as a potential natural or man-made cause that could lead
to a disaster, but the presence of an infectious disease does not alone qualify for this

classification. Therefore, the presence of COVID-19 within the state of Maine itself would

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not constitute the occurrence or imminent threat ofa pandemic causing widespread or severe

damages, injury or loss of life or property.

112. As of May 5, 2020, the Maine Department of Health and Human Services
confirmed 1,150 positive cases in the state, with 741 people infected having recovered, 187

having been hospitalized and 61 deaths attributed to the virus.

113. To date, less than 0.086% of the population of Maine is confirmed to have
been infected with COVID-19, while 3 counties have 6 or fewer total confirmed cases
(Aroostook, Washington and Piscataquis). Moreover, 62.5% of the counties in Maine have
not experienced a single death attributed to the virus and less than 1 in every 22,000

residents of Maine has died from the virus.

114. Given these figures, an epidemic does not exist throughout the State of

Maine which would support declaring a statewide “disaster.”

115. Governor Mills’ Executive Orders do not make any attempt to narrowly
define the portion of Maine constituting a disaster or affected area and instead impose
blanket prohibitions on the entire state, including restrictions on residents leaving their

homes and the ability for businesses to operate.

116. Governor Mills’ Executive Orders also include a mandatory quarantine for
anyone coming into Maine from another state regardless of the area of Maine the person

intends to visit or the condition of the prior location of the visitor.

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117. These broad restrictions to control movement and business within the entire
State of Maine instead of within defined “affected areas” exceed the powers afforded to the
Govemor under Maine Revised Statute 37-B, § 743, including the portions of the statute

cited in the Executive Orders.

118. Governor Mills’ Executive Orders have resulted in hundreds of thousands of
iost jobs and unemployment claims and the Orders themselves create an economic disaster
for the State of Maine if they stay in place through May 31, 2020 or longer as currently
ordered.

COUNT [X DECLARATORY JUDGMENT VIOLATION OF NATURAL
RIGHTS SECTION OF MAINE CONSTITUTION
119. ‘Plaintiffs incorporate by reference paragraphs | through 118 above as if

fully set forth in this paragraph.

120. Article I, Section | of the Maine Constitution provides “[a]!] people are born
equally free and independent, and have certain natural, inherent and unalienable rights,
among which are those of enjoying and defending life and liberty, acquiring, possessing
and protecting property, and of pursuing and obtaining safety and happiness.” Me. Const.

Art. I, § 1.

121. Governor Mills issued the executive orders pursuant to Title 37B, Ch. 13.

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122. Governor Mills, by issuing the executive orders, deprived the Plaintiffs of
their liberty, and their ability to acquire, possess, and protect their property. Moreover, the

executive orders further deprive the Plaintiffs of the ability to obtain safety and happiness.

123. Said deprivation of rights has been in place since the implementation of the

first executive orders and continues each day the executive orders remain in effect.

124. To the extent that Title 37B, Ch. 13, without waiving the argument in Count
VIII that the executive orders exceeded the authority of the Governor under Title 37B, Ch.
13, authorizes the Governor to implement the executive orders, Title 37B, Ch. 13 violates

the natural rights section of the Maine Constitution.

COUNT X VIOLATION OF TAKING CLAUSE
125. Plaintiffs incorporate by reference paragraphs 1 through 116 above as if

fully set forth in this paragraph.

126. The Takings Clause of the Fifth Amendment of the United States,
applicable to the States through the Fourteenth Amendment, provides “nor shall private

property be taken for public use, without just compensation.” US. Cons. Amend. V.

127. The executive orders prevent the Plaintiffs from operating their business

and thereby prevent the Plaintiffs, individually, from generating revenue.

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128. By preventing the Plaintiffs’ from operating their respective businesses, the
executive orders have damaged and harmed the Plaintiffs’ businesses and significantly

impaired their use.

129. Accordingly, the executive orders denies the Plaintiffs all economic use of

their business and jeopardizes the continued viability of the Plaintiffs’ businesses.

130. The Plaintiffs have been unable to operate their respective businesses since

the date of the first executive order, and remain unable to operate their businesses.

131. Each day the executive orders remain in effect, the value of the Plaintiffs’

businesses decreases, and correspondingly, the amount of the taking increases.

132. Plaintiffs have not received just compensation for the taking.

133. Under 42 U.S.C. § 1983, every person who, under color of State law subjects
another person to the deprivation of any rights, privileges, or immunities secured by the
Constitution and laws of the United States, shall be liable to the party injured in an action
at law, suit in equity, or other proper proceeding for redress. Governor Mills has, under
color of State law, subjected Plaintiffs to a deprivation of their rights, privileges and
immunities secured by the Constitution of the United States and is therefore liable to them

in this action,

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully ask the Court to grant them the following

l, A declaratory judgment that the Executive Orders:

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(a) violate Plaintiffs’ State and Federal constitutional rights as set forth
in this Complaint; and

(b} _ violatethe Separation of Powers Clauses of the Maine Constitution,

2. A declaratory judgment that Title 37B, Ch. 13 is unconstitutional and

violates the natural rights section of the Maine Constitution;

3. An Injunction prohibiting Governor Mills from enforcing the Executive
Orders and from issuing any future orders or rules similarto the invalid ones described in this

action;

4, Reasonable attorneys’ fees, costs, and expenses under 42 U.S.C. § 1988

and any other applicable law;
5. Just compensation for the taking of the Plaintiffs’ property; and
6. Any other such further relief to which Plaintiffs may be entitled as a
matter of law or equity, or which the Court determines to be just and proper.

JURY DEMAND

Under the Seventh Amendment to the U.S Constitution and Rule 38(b) of the

Federal Rules of Civil Procedure, Plaintiffs demand trial by jury on all issues so triable.

  

DATED:_May 8. 2020

 

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